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                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                          DOC #: _________________
                                                                   DATE FILED: 10/16/2020

               -against-
                                                                          19 Cr. 6-1 (AT)
WILLIAM BAZEMORE,
                                                                              ORDER
                          Defendant.
ANALISA TORRES, District Judge:

      Sentencing in this matter is scheduled for December 10, 2020, at 11:00 a.m. Defendant’s
submissions are due by November 25, 2020. The Government’s submissions are due by
December 2, 2020.

        As the parties are aware, the Court adopted emergency rules for conducting conferences
and proceedings in criminal cases in light of the COVID-19 public health crisis. See Rule 2(B)
of the Court’s Emergency Individual Rules and Practices in Light of COVID-19.

         Accordingly, Defendant’s counsel is directed to confer with the Government and submit
a letter to the docket, in advance of sentencing and no later than November 18, 2020, stating the
positions of both Defendant and the Government on “whether the Court can, consistent with the
U.S. Constitution, Federal Rules of Criminal Procedure (see, e.g., Rules 5(f), 10(b) & (c), and
43), and any other relevant law, conduct the matter by telephone or video and, . . . whether the
Defendant consents to appearance in that manner,” or whether the matter should be adjourned
until a time when it can be completed in person. Rule 2(B) of the Court’s Emergency Individual
Rules and Practices in Light of COVID-19 (emphasis added).

       SO ORDERED.

Dated: October 16, 2020
       New York, New York
